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                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        LITTLE ROCK DIVISION

UNITED STATES OF AMERICA                                                PLAINTIFF

v.                        Case No. 4:17-cr-00319 JM

MORGAN STEPHEN POOLE, aka “Steve,”
and NATHANIEL BURROUGHS                                              DEFENDANTS

          MOTION TO CONTINUE REVOCATION HEARING

      The Separate Defendant, Nathaniel Burroughs (hereafter “Burroughs”), by

his Attorney, Steven R. Davis, moves to continue the hearing on revocation of the

Defendant’s pretrial release, which is now scheduled to begin on July 17, 2018, at

2:30 p.m.. The Defendant states in support of his Motion the following:

      1. The Defendant, Nathaniel Burroughs, is charged with one count of

         violating 21 U.S.C. §841(a)(1), conspiracy to distribute and to possess

         with intent to distribute less than fifty (50) grams of a mixture containing

         methamphetamine, a felony, and one count of distribution of less than

         fifty (50) grams of a mixture containing methamphetamine, a felony, in

         violation of 21 U.S.C. §841(a)(1) and 841(b)(1)(B).

      2. The Court has set a jury trial in this case to begin on December 10, 2018.

      3. U.S. Magistrate Judge Jerome T. Kearney appointed the undersigned

         counsel to represent the Defendant on December 15, 2017.

      4. The United States filed a Motion to Revoke the Defendant’s pretrial
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         release on July 11, 2018.

      5. Burroughs was served with the Motion to Revoke on July 16, 2018.

      6. Burroughs moves that the hearing on the motion for revocation be

         continued for two weeks. Burroughs has advised his attorney that he has

         recently undergone surgery, which could be a mitigating factor for the

         Court to consider with regard to the Defendant’s continued pretrial

         release.

      7. Additionally, the Defendant has been accepted into another drug

         treatment facility and tested drug free within the past 48 hours.

      8. The undersigned counsel has sought to confer with Assistant U.S.

         Attorney Michael Gordon concerning this motion for continuance.

         Counsel for the Defendant has been unable to reach AUSA Gordon. The

         undersigned counsel spoke with the Defendant by phone this evening and

         decided to file this Motion after 8:00 p.m. but needed to file it as soon as

         possible.

      9. Burroughs agrees to waive any speedy trial rights in connection with any

         continuance which the Court may grant in this case.

      WHEREFORE, the Defendant, Nathaniel Burroughs, respectfully prays that

his motion to continue the revocation hearing set for July 17, 2018, be granted.




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                                     Respectfully submitted,

                                     /s/ Steven R. Davis
                                     Steven R. Davis, Ark. Bar #76029
                                     Attorney at Law
                                     1920 N. Main Street, #221
                                     North Little Rock AR 72114
                                     (501) 604-4525
                                     srd@stevenrdavislaw.com




                        CERTIFICATE OF SERVICE

      I, Steven R. Davis, hereby certify that I have filed this pleading with the
Clerk of the U.S. District Court through the Electronic Case Filing (ECF) system
on July 16, 2018. ECF will automatically serve a copy of this pleading on Mr.
Michael Gordon, Assistant U.S. Attorney, P.O. Box 1229, Little Rock AR 72203,
and to Mr. R. Brannon Sloan, Attorney for Morgan Stephen Poole 217 West
Second Street, Suite 115, Little Rock AR 72201.

                                     /s/ Steven R. Davis
                                     Steven R. Davis




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